91 F.3d 121
    NOTICE: First Circuit Local Rule 36.2(b)6 states unpublished opinions may be cited only in related cases.Alfredo G. HUALDE-REDIN, et al., Plaintiffs, Appellants,v.ROYAL BANK OF PUERTO RICO, et al., Defendants, Appellees.
    No. 95-1875.
    United States Court of Appeals, First Circuit.
    Aug. 2, 1996.
    
      APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF PUERTO RICO
      Alfredo G. Hualde-Redin on brief pro se.
      Charles De Mier-LeBlanc and De Corral &amp; De Mier on brief for appellee Royal Bank of Puerto Rico.
      Mildred Caban and Goldman Antonetti &amp; Cordova on brief for appellees Ramon Dapena, Esq., Jorge Souss, Esq., Ivonne Palerm, Esq., Goldman Antonetti &amp; Cordova, Carlos Del Valle, and American International Insurance Co.
      Before TORRUELLA, Chief Judge, BOUDIN and LYNCH, Circuit Judges.
      PER CURIAM.
    
    
      1
      The motion to recuse Judge Torruella is denied.
    
    
      2
      We summarily affirm the dismissal of plaintiffs' action.  To the extent plaintiffs were asking the district court to review, set aside, or effectively annul the Commonwealth court orders, plaintiffs' action was properly dismissed because the district court lacked jurisdiction to review those orders.   Rooker v. Fidelity Trust Co., 263 U.S. 413, 415-16 (1923);   Lancellotti v. Fay, 909 F.2d 15, 17 (1st Cir.1990).  The remainder of plaintiffs' action was properly dismissed because plaintiffs failed adequately to state any claim under either federal or Commonwealth law against defendants.  The district court did not abuse its discretion in failing to afford plaintiffs any further opportunity to amend their complaint.  Nor is there any merit in plaintiffs' claims of bias.
    
    
      3
      Appellees ask in their brief for double costs and attorneys fees to be assessed because of appellants' repetitive, frivolous filings.  Appellants' litigation tactics are abusive.  Their filings are extremely verbose, repetitive, and often incoherent.  They continue to press arguments which we have rejected in appellants' other appeals.  They do not reserve their reply brief for new arguments, but rather repeat at length material presented in their main brief.  And their appeals have been frivolous.  Nevertheless, we must deny appellees' request because they did not present their request for sanctions in a motion separate from their brief.  See Fed.  R.App. P. 38 and 1994 advisory committee note.
    
    
      4
      Affirmed.
    
    